
Appeal by relator from an order of the Clinton Special Term of the Supreme Court, dismissing a writ of habeas corpus. Relator was convicted on January 18, 1927, for the crime of manslaughter, second degree, and was sentenced to imprisonment for ■a term of not Iess. than seven years and six months, and not more than fifteen *857years. While serving this sentence in Sing Sing Prison, the relator committed a second homicide and was indicted for first degree murder and after trial was convicted of the crime of manslaughter, first degree, for which he was sentenced to a definite term of twenty years. It is relator’s contention that he has been unjustly deprived of the privilege of parole under his first sentence. Order affirmed, without costs. All concur.
